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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


COMMITTEE ON WAYS AND MEANS, UNITED
STATES HOUSE OF REPRESENTATIVES,

                  Plaintiff,

      v.

UNITED STATES DEPARTMENT OF THE              Case No. 19-cv-01974-TNM
TREASURY, et al.,

                  Defendants,

DONALD J. TRUMP, et al.,

                  Defendant-Intervenors.




                PLAINTIFF’S SUPPLEMENTAL MEMORANDUM
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                                        INTRODUCTION

        Plaintiff respectfully submits this brief in response to the Court’s October 15, 2019 Order

inviting the parties to file supplemental briefs on Defendants and Defendant-Intervenors’ motion

to dismiss (Dkt. 44) in light of the D.C. Circuit’s recent decision in Trump v. Mazars USA, LLP,

No. 19-5142, 2019 WL 5089748 (D.C. Cir. Oct. 11, 2019).1

        Mazars principally addresses issues related to the merits of this dispute rather than the

threshold questions of justiciability raised in Defendants’ motion to dismiss. The reasoning in

Mazars does, however, compel the rejection of one argument advanced in the motion to dismiss:

the contention that a separate resolution of the House of Representatives was required to

authorize the filing of this lawsuit.

        Despite acknowledging that the Mazars decision does not address the threshold questions

in the motion to dismiss (Dkt. 63, at 2), Defendants attempt to draw from Mazars implications

favorable to their arguments on standing, on statutory subject-matter jurisdiction, and on

mandamus and non-statutory review. Their arguments on each of those points are faulty.

I.      Mazars’ Reasoning Establishes That No Separate Resolution Of The House Of
        Representatives Was Required To Authorize This Suit

        In their motion to dismiss, Defendants argue that “the House of Representatives cannot

authorize a lawsuit without specifically voting to do so.” Dkt. No. 44, at 26 (heading). They

contend that even though the full House, by resolution, adopted a House Rule expressly

empowering the Bipartisan Legal Advisory Group (BLAG) to determine whether House

committees may initiate litigation, that exercise by the full House of its constitutionally granted

power to “determine the Rules of its Proceedings,” U.S. Const. Art. I, § 5, cl. 2, is insufficient.2


        1
         We will refer to Defendants and Defendant-Intervenors collectively as “Defendants.”
        2
         See also H. Res. 6, 116th Cong. (Jan. 9, 2019) (adopting Rules of 116th Congress);
H. Res. 430, 116th Cong. (June 11, 2019) (reaffirming that the “chair of each standing and
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Relying on INS v. Chadha, 462 U.S. 919 (1983), they insist that “[j]ust as the House could not

by resolution delegate to a subset of its members the authority to pass legislation, it cannot

provide the BLAG blanket, pre-emptive authority to file whatever legislation it might devise.”

Dkt. 44, at 27 (citation to Chadha omitted).

       As explained in Plaintiff’s opposition brief, Chadha has no application here. See Dkt. 55,

at 32-36. In Chadha, the Supreme Court held the one-house veto unconstitutional because it

conflicted with specific provisions in Article I—the bicameralism and presentment requirements,

the Presidential veto, and the Congressional veto override. By contrast, the Constitution

mandates no specific procedure the Houses of Congress must follow in authorizing participation

in litigation. That constitutional silence leaves the matter within each chamber’s exclusive

control. Absent such express constitutional limitations, the House’s and Senate’s exercises of

their rulemaking authority are “matters of method” that “are open to the determination of the

house.” United States v. Ballin, 144 U.S. 1, 5 (1892); cf. Marshall Field & Co. v. Clark, 143 U.S.

649, 671 (1892) (when constitutional clause does not address how each House should exercise a

power, the manner of exercise is “left to the discretion of the respective houses of congress”).

       The decision in Mazars fully endorsed those principles in a context that cannot

meaningfully be distinguished from the one here. See 2019 WL 5089748, at *24-25. The Trump

Plaintiffs in Mazars made the same argument about a purported full-House authorization

requirement that Defendants advance here, based on the same purported separation-of-powers

principles, albeit with respect to the method by which subpoenas may be authorized rather than

the method by which litigation to enforce a subpoena may be authorized. See id. at *24. The



permanent select committee, when authorized by the Bipartisan Legal Advisory Group, retains
the ability to initiate or intervene in any judicial proceeding before a Federal court on behalf of
such committee”).

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Mazars court rejected the full-House-authorization argument in no uncertain terms. The federal

courts, the D.C. Circuit explained, “have no authority to impose such a requirement on the

House,” id.:

       The Constitution gives “[e]ach House” of Congress authority to “determine the
       Rules of its Proceedings,” U.S. Const. art. I, § 5, cl. 2, meaning that courts lack
       the power to invalidate a duly authorized congressional subpoena merely because
       it might have been “better [if] ... the full House” had specifically authorized or
       issued it, Oral Arg. Tr. 130. See Eastland [v. U.S. Servicemen’s Fund, 421 U.S.
       491, 509 (1975)] (“The wisdom of congressional approach or methodology is not
       open to judicial veto.”). To be sure, “the courts will intervene to protect
       constitutional rights from infringement by Congress, including its committees and
       members.” Exxon Corp. [v. FTC, 589 F.2d 582, 590 (D.C. Cir. 1978)]. But
       unless and until Congress adopts a rule that offends the Constitution, the courts
       get no vote in how each chamber chooses to run its internal affairs. See id.
       (“[W]here constitutional rights are not violated, there is no warrant for the
       judiciary to interfere with the internal procedures of Congress.”).

Mazars, 2019 WL 5089748, at *24.

       Defendants’ efforts to distinguish this portion of the Mazars decision are unavailing.

Defendants contend that the constitutional principle they invoke—Article III’s case-or-

controversy requirement—is different from the one that the Trump Plaintiffs in Mazars

emphasized—the separation-of-powers principle that the branches are co-equal. Dkt. 63, at 6-7.

But Defendants never explain why such a distinction should matter. Just as in Mazars,

Defendants here are asking the Court to impose a full-House-authorization requirement based on

an appeal to a general constitutional doctrine that says nothing about the methods by which the

House delegates authority to its committees or other components—matters that fall within the

authority of each chamber to “determine the Rules of its Proceedings,” U.S. Const. Art. I, § 5, cl.

2. Unlike the bicameralism-and-presentment requirements that compelled invalidation of the

one-house veto in Chadha, no separate provision of the Constitution limits how the House may

authorize litigation any more than any constitutional provision limits the House’s method for




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authorizing committees to issue subpoenas. “[W]here constitutional rights are not violated, there

is no warrant for the judiciary to interfere with the internal procedures of Congress.” Exxon

Corp., 589 F.2d at 590 (quoted in Mazars, 2019 WL 5089748, at *24).3

II.    Mazars’ Reasoning Confirms That Federal Courts Are Fully Empowered To
       Resolve This Controversy

       In their motion to dismiss, Defendants raise a raft of arguments, based on standing and

statutory subject-matter jurisdiction, all directed to the proposition that federal courts have no

competence to resolve a separation-of-powers controversy between a House of Congress and the

Executive Branch. The decision in Mazars confirms, however, that the issues raised by this

case—the validity of Congressional subpoenas and requests for information under Article I—lie

squarely within the federal courts’ authority to decide. That is hardly surprising, because the

federal courts, including the Supreme Court, have adjudicated the validity of Congressional

subpoenas under Article I several times. See Dkt. 55, at 26-28.

       Defendants attempt to distinguish Mazars as a case about “individual rights,” on the

purported ground that the rights and obligations of Mazars, the nominal respondent of the

subpoena, rather than President Trump, whose financial records were sought by the subpoena,

were at issue. Dkt. 63, at 3. That argument is flawed in several respects.

       First, Defendants disregard cases in which the D.C. Circuit and this District Court have

adjudicated the validity of Congressional subpoenas directed to the Executive Branch, including

Senate Select Committee on Presidential Campaign Activities v. Nixon, 498 F.2d 725 (D.C. Cir.



       3
         As Plaintiff explained in its opposition brief, the authorities Defendants cite to establish
the Article III principle they hypothesize—Raines v. Byrd, 521 U.S. 811 (1997); Reed v. Cty.
Comm’rs of Del. Cty., 277 U.S. 376, 389 (1928); and Walker v. Cheney, 230 F. Supp. 2d 51
(D.D.C. 2002)—are off point. They involved suits brought by individual legislators or the
Comptroller General, all of whom lacked authorization pursuant to House Rules that Plaintiff, as
a standing committee acting pursuant to BLAG approval, possesses. See Dkt. 55, at 35.

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1974), Committee on the Judiciary v. Miers, 558 F. Supp. 2d 53 (D.D.C. 2008), and Committee

on Oversight and Government Reform v. Holder, 979 F. Supp. 2d 1 (D.D.C. 2013).

       Defendants liken Mazars to United States v. AT&T, in which the nominal respondent to a

Congressional subpoena was a private party, even though the Congressional committee was

seeking information about the activity of the Executive Branch. Dkt. 63, at 2-3. But in AT&T,

the D.C. Circuit expressly recognized that the Congressional intervenor was “the real party in

interest,” since the real issue before the D.C. Circuit was the enforceability of a Congressional

subpoena in the face of Executive Branch resistance. United States v. American Tel. & Tel. Co.,

567 F.2d 121, 123 (D.C. Cir. 1977).

       Second, Defendants are wrong in asserting that “Mazars … did not involve an effort by a

component of Congress to invoke the jurisdiction of the federal courts.” Dkt. 63, at 3. Although

Mazars does not feature a Congressional plaintiff, the House Committee on Oversight and

Reform did intervene, and “an intervener … must satisfy the same Article III standing

requirements as original parties.” Bldg. & Const. Trades Dep’t, AFL-CIO v. Reich, 40 F.3d

1275, 1282 (D.C. Cir. 1994). That the Mazars court did not question the Oversight Committee’s

standing to litigate “on equal footing with the original parties” reflects the settled D.C. Circuit

law that a Congressional committee has standing to assert its subpoenas’ enforceability before

the federal courts. Id.4

       Third, Mazars lends no support to Defendants’ argument that the Committee lacks

standing to assert an informational injury caused by Defendants’ refusal to comply with the



       4
         In Mazars, the Trump Plaintiffs consented to the Committee on Oversight and Reform’s
intervention. See Consent Mot. of the Comm. on Oversight and Reform of the U.S. House of
Representatives to Intervene and Mem. of P. & A. in Supp., Trump v. Committee on Oversight
and Reform, No. 1:19-cv-01136 (D.D.C. Apr. 26, 2019), ECF No. 12. But that did not relieve
the court of its obligation to make an independent determination concerning standing.

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Committee’s request for tax return information under 26 U.S.C. § 6103 (distinct from the injury

caused by Defendants’ refusal to comply with the Committee’s subpoenas). See Dkt. 63, at 3-4.

Defendants assert that the Committee lacks a “legally cognizable interest in confidential tax

information for its own sake,” id. at 3, but that argument goes to the merits of whether Section

6103(f)(1) requires the Committee to articulate a legislative purpose and, if so, whether it has

done so here—not to the Committee’s standing.

        “For purposes of the standing issue, [the court must] accept as valid [the plaintiff’s]

pleaded legal theory.” Am. Fed’n of Gov’t Emps., AFL-CIO v. Pierce, 697 F.2d 303, 305 (D.C.

Cir. 1982). As the Committee has pleaded its legal theory for relief under Section 6103(f),

Defendants are obligated to provide it with the requested tax return information under Section

6103(f), but have refused to do so. That refusal has caused the Committee injury under its legal

theory. Defendants are free to disagree with the Committee’s reading of Section 6103(f), but

those arguments are not standing arguments and should be deferred to the parties’ summary

judgment motions. Decisions on informational injury clearly hold that a plaintiff has standing

when it is denied information that a statute entitles it to receive; the plaintiff’s purpose for

requesting the information is irrelevant to Article III standing. See Public Citizen v. U.S. Dep’t

of Justice, 491 U.S. 440, 449 (1989). Mazars alters nothing on that score.

        Fourth, Defendants mischaracterize Plaintiff’s argument when they suggest that the

Committee’s second, institutional injury relates to “nullification” of the House’s legislative

power in the sense that the Supreme Court rejected in Raines v. Byrd, 521 U.S. 811 (1997). The

federal courts have recognized that a House committee seeking subpoena enforcement may plead

an injury from “the institutional diminution of its subpoena power.” Miers, 558 F. Supp. 2d at

71. Indeed, as the Committee has explained, under Defendants’ theory, no Congressional




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subpoena directed to anyone—perhaps no subpoena at all—could be enforced by the federal

courts. See Dkt. 55, at 22, 25-26. This Court should not endorse such a startling proposition.

Here, the Committee has alleged that it had a valid legislative purpose in issuing the subpoenas

to Defendants, and at this stage of the case, the Court is obligated to accept that allegation as

true. Defendants’ refusal to comply with those presumptively valid subpoenas, therefore, is

sufficient to vest the Committee with standing.5

III.   Mazars Does Not Support Defendants’ Clear-Statement Argument

       Defendants contend that the Mazars court’s rejection of President Trump’s argument for

a clear-statement rule requiring explicit authorization by the House for a subpoena directed to

records implicating the President somehow supports their arguments that this Court has no

jurisdiction under 28 U.S.C. § 1331 and that the Administrative Procedure Act (APA) provides

no cause of action to the Committee. See Dkt. 63, at 8-9. Mazars does no such thing.

       As to Section 1331, Defendants advanced no clear-statement argument in their earlier

briefing, and so it is too late for them to raise such an argument now. With respect to the APA,

Defendants did argue that the term “person” in the APA should not be read to include

Congressional committees in the absence of an express statement to that effect. See Dkt. 44, at

56. But that contention was tied to a particular statute, the APA, and, unlike the argument

advanced by Defendants, would not impose a clear-statement requirement for the Congress, let

alone the President, across the entire U.S. Code.


       5
          Defendants also argue (Dkt. 63, at 4) that the Mazars opinion’s discussion of historical
practice supports their contention that Congressional committees may not act on their own—i.e.,
without the assistance of the Executive Branch—to enforce a Congressional subpoena. But as
Plaintiff has explained, there is a long history of the Houses of Congress acting separately, and
not through the Executive Branch, to enforce compliance with their subpoenas through the
exercise of their inherent contempt powers. Dkt. 55, at 29-31. Cases like the current one are, if
anything, a more modest effort to vindicate the House of Representative’s separate Article I
power to investigate through the use of compulsory process.

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       In any event, Defendants’ contention finds no support in Mazars, for two distinct reasons.

First, the portion of Mazars Defendants cite relates to whether a clear reference to the President

is required for Congressional authorization of a subpoena when the House Rules delegated

authority to issue subpoenas to a standing committee. The D.C. Circuit rejected that assertion,

stressing that the issue did not implicate “the balance between Congress and the President” and

dealt “exclusively with the allocation of authority within the legislative branch.” Mazars, 2019

WL 5089748, at *23. The same is true here: Whether the Committee may sue without formal

authorization from the full House of Representatives had nothing to do with the separation of

powers between the Legislative and Executive Branches, but solely implicates matters of internal

House procedure. Indeed, as the Mazars court noted, “Congress already possesses—in fact has

previously exercised … the authority to subpoena Presidents and their information.” Id. And the

D.C. Circuit already held decades ago in AT&T that Section 1331 provides jurisdiction for

district courts to hear subpoena enforcement disputes between the Congress and Executive

Branch officials, including the President. See United States v. American Tel. & Tel. Co., 551

F.2d 384, 389-90 (D.C. Cir. 1976).

       Second, and in any event, the separation-of-powers concerns that Defendants say compel

a clear-statement rule are not present here because the Committee’s subpoenas were not served

on the President, and the Committee did not sue the President. Because the subpoenas name

other Executive Branch officials, for instance, their enforcement does not create the possibility of

a future contempt action against the President. Nor do these subpoenas threaten to distract the

President with gathering responsive records, since that work will be conducted entirely by the

Internal Revenue Service.




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       To the extent the Mazars court briefly summarized two earlier decisions, Armstrong v.

Bush, 924 F.2d 282 (D.C. Cir. 1991), and Franklin v. Massachusetts, 505 U.S. 788 (1992), its

characterization of those decisions lends no support to Defendants’ statutory clear-statement

argument. As the Mazars panel explained, Armstrong and Franklin held that “the President is

not an ‘agency’ subject to judicial review under the” APA. Mazars, 2019 WL 5089748, at *23.

Armstrong did so, the court explained, in part because treating the President as an agency under

the APA would “significantly alter the balance between Congress and the President.” Id.

(quoting Armstrong, 924 F.2d at 289).

       But Armstrong and Franklin certainly did not hold that a clear statement is necessary for

a lawsuit brought against an Executive Branch agency, even when the lawsuit may implicate the

powers and interests of the President. To the contrary, a lawsuit may be brought against an

Executive Branch agency even to test the validity of orders of the President. See, e.g.,

Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579 (1952); Chamber of Commerce v. Reich,

74 F.3d 1322 (D.C. Cir. 1996); see also Franklin, 505 U.S. at 801 (“the President’s actions may

still be reviewed for constitutionality”); id. at 828 (Scalia, J., concurring in part and concurring in

the judgment) (“None of these conclusions, of course, in any way suggests that Presidential

action is unreviewable. Review of the legality of Presidential action can ordinarily be obtained

in a suit seeking to enjoin the officers who attempt to enforce the President’s directive[.]”).

       Finally, unlike the records at issue in Armstrong and the actions at issue in Franklin, the

tax return materials of the President and his business entities sought here do not concern the

exercise of his constitutional duties. For that reason, Defendants have never, nor could they,

raise any objection to Plaintiff’s subpoenas (or Section 6103 request) based on Executive

privilege. As the Mazars court explained, “in determining whether [a statute] disrupts the proper




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balance between the coordinate branches, the proper inquiry focuses on the extent to which it

prevents the Executive Branch from accomplishing its constitutionally assigned functions.”

Mazars, 2019 WL 5089748, at *15 (quoting Nixon v. Adm’r of Gen. Servs., 433 U.S. 425, 443

(1977)). Recognizing jurisdiction over Plaintiff’s suit to compel compliance with its subpoenas

threatens no such obstruction of the President’s ability to carry out his constitutionally assigned

functions. Cf. Mazars, 2019 WL 5089748, at *14-18 (explaining clear constitutional

permissibility of statutes requiring disclosure of information concerning President’s financial

affairs).

IV.     Defendants’ Arguments On Mandamus And Non-Statutory Review Are Incorrect

        Defendants also argue that, because the Court of Appeals found the legal issues in

Mazars “thorny” and weighty, that fact precludes this Court’s exercise of jurisdiction under

either the mandamus statute, 28 U.S.C. § 1361, or non-statutory review of executive action. Dkt.

63, at 4-5. But the federal courts do not lack jurisdiction in such instances merely because the

case before them is difficult. Chamber of Commerce v. Reich, for example, raised complex and

difficult questions about the authority of the President, under both Article II and federal statutes,

to bar government contractors from hiring workers to permanently replace strikers, as well as the

authority of Congress to regulate in that area, but the D.C. Circuit found it clear that it could

review the President’s actions as a matter of non-statutory review. 74 F.3d at 1325-1332; see

also Youngstown, 343 U.S. at 634-60 (Jackson, J., concurring in judgment) (agreeing that

injunction against seizure of steel mills by government under President’s emergency powers

should be enjoined, despite difficulty of question, absence of clear authority on point, and need

for flexible approach to questions of Presidential power).




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       Moreover, the principal issue that divided the judges on the Mazars panel—whether the

House Committee on Oversight and Reform was precluded from investigating illegal conduct by

the President unless the House of Representatives initiated an impeachment inquiry, compare

Mazars, 2019 WL 5089748, at *18-20 (majority), with id. at *30 (dissent)—is not implicated in

this case, and Defendants have not raised any such argument here. Rather, this case involves “a

familiar tale. A Congressional committee, as committees have done repeatedly over the past two

centuries, issued an investigative subpoena, and the target of that subpoena, questioning the

committee’s legislative purpose has asked a court to invalidate it. The fact that the subpoena in

this case seeks information that concerns the President adds a twist, but not a surprising one.” Id.

at *26. Mazars firmly establishes that federal courts can and may resolve disputes exactly like

the present one, and this Court should proceed to do so.

October 29, 2019                                   Respectfully submitted,

                                                   /s/ Douglas N. Letter
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